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UNITED STATES DlSTRICT COURT

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CORNELIUS MADDOX, ) f law “"S
)
Plain¢iff, )
)
vs. ) Civil Action No.: ]:03-1229- B/P
)
CORRECTloNs CORPORATION )
0F AMERICA, et al., )
)
Defendants. )

 

AGREED ORDER HOLDING DEADLINES IN ABEYANCE

 

lt appears to the satisfaction of the Court that the parties have agreed, as
evidenced by the signatures cf counsel for all parties below, that all deadlines be held in
abeyance until after a scheduled Status Conference on June 24, 2005. This matter being
agreeable with the Court, it is hereby,

ORDERED, that all current deadlines are held in abeyance until after the
scheduled Status Conference on June 24, 2005.

Dated: this q daycf JUN~ ,2005.

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J-DANTEL'BREEN'JL et PT\@...\
UNITED sTA'rEs Brs'rRie=r-JUDGE

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APPROVED FOR ENTRY:

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CERTIFICATE OF SERVICE

 

l certify that a copy ofthe foregoing has been served by U.S. mail upon Wayne
A. Ritchie, II and Robert W. Ritchie, Ritchie Fe]s & Dillard, P.C., P.O. Box 1126,

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Columbia, SC 29201 on June , 2005.

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OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 34 in
case 1:03-CV-01229 Was distributed by faX, mail, or direct printing on
June 13, 2005 to the parties listed.

 

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Honcrable J. Breen
US DISTRICT COURT

